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                            Exhibit 2
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   Intellectual
   Property Rights
   Fiscal Year 2018 Seizure Statistics


   Prepared by
   U.S. Customs and Border Protection
   Office of Trade
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      Disclaimer: The information contained in this report does not
      constitute the official trade statistics of the United States. The
      statistics, and the projections based upon those statistics, are
      not intended to be used for economic analysis, and are provided
      for the purpose of establishing U.S. Department of Homeland
      Security workload.

                                                                                                      5
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                        EXECUTIVE SUMMARY

        Products that infringe U.S. trademarks and copyrights are subject
        to exclusion orders issued by the United States International
        Trade Commission threaten the health and safety of American
        consumers and pose risks to our national interests. U.S. Customs
        and Border Protection (CBP) and U.S. Immigration and Customs
        Enforcement (ICE) Homeland Security Investigations’ (HSI)
        enforcement of intellectual property rights (IPR) mitigates the
        financial and welfare risks posed by imports of illicit products.

        Each year, more than 11 million maritime containers arrive at
        our seaports. At our land borders, another 10 million arrive by
        truck and 3 million arrive by rail. An additional quarter billion
        more cargo, postal, and express consignment packages arrive
        through air travel. The Department of Homeland Security (DHS)
        remains vigilant in targeting shipments containing IPR-infringing
        goods, levying civil fines and criminally investigating those who
        seek to violate our trade laws, harm consumers, and damage our
        economy.

        In fiscal year (FY) 2018, the number of IPR seizures decreased
        by 333 seizures to 33,810 from 34,143 in FY 2017. The total
        estimated manufacturer’s suggested retail price (MSRP) of the
        seized goods, had they been genuine, increased to nearly $1.4
        billion from over $1.2 billion in FY 2017.

        In FY 2018, ICE-HSI arrested 381 individuals, obtained 296
        indictments, and received 260 convictions related to intellectual
        property crimes.




    6             EXECUTIVE SUMMARY
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                           IPR & E-Commerce
        E-commerce sales, including those through third-party platforms, have
        resulted in a sharp increase in the shipment of small packages into the
        United States. In FY 2018, there were 161 million express shipments,
        and 475 million packages shipped through the international mail
        environment.

        Over 90% of all intellectual property seizures occur in the international
        mail and express environments. A majority of those fall under the de
        minimis threshold of $800.

        In March 2018, CBP released its CBP E-Commerce Strategy. The
        strategy strengthens CBP’s ability to protect the public and U.S.
        economy from noncompliant goods. The strategy drives compliance
        and enforcement, and promotes coordination. CBP is working toward
        implementation.

        More e-commerce related information can be found at
        https://www.cbp.gov/trade/basic-import-export/e-commerce




                                Growth of Small Shipment (in millions)
                   500                                              502
                                                                             475
                   400
  Mail Shipment
                   300
                                                          275
   Express Bills   200                          222
                                      170                                    161
                         150
                   100                                    96        110
                          76          82        91

                     0
                         2013        2014      2015      2016      2017     2018




                                                  IPR & E-COMMERCE            15
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                        FISCAL YEAR 2018 IPR SEIZURE STATISTICS
                                BY NUMBER OF SEIZURES




     46                   41
           %
                             %




                                                                            9
                                           2                                %
                                           %
                                                    1            1
                                                    %            %

                                                                         All Other Countries
     China (Mainland)



                          Hong Kong




                                                                Taiwan
                                         Turkey



                                                   India




                                      FY 2018 TOTALS:
                                  33,810 - NUMBER OF SEIZURES
                                      $1,399,873,842 - MSRP


    16
